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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION


LEMUEL      J.     BARNEY,                    2:18-CV-13510-TGB
JACQUELINE BARNEY,

                Plaintiffs,
                                                      ORDER

     vs.
                                         HONORABLE TERRENCE G.
HAPPY'S PIZZA ENTERPRISES,                      BERG
INC., HAPPY'S PIZZA #12, INC.,
HAPPY'S PIZZA #45,

                Defendants.



                    ORDER DISMISSING CASE

     Pursuant to the Notice of Voluntary Dismissal by Plaintiffs, this

case is DISMISSED without prejudice.

     IT IS SO ORDERED.

     DATED this 28th day of February, 2019.

                                  BY THE COURT:


                                  /s/Terrence G. Berg
                                  TERRENCE G. BERG
                                  United States District Judge
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                             CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record on
                February 28, 2019, by electronic and/or ordinary mail.
                                   /s/ Amanda Chubb
                                      Case Manager
                                     (313) 234-2644
